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                                    JONATHAN KAYE                         USDC SDNY
                                                                          DOCUMENT
                                       ATTORNEY AT LAW
                                         35-16 BELL BOULEVARD             ELECTRONICALLY FILED
                                                 SUITE 201                DOC #:
                                                                          DATE FILED: 06/28/2019
                                        BAYSIDE NEW YORK 11361
                                               (718) 746-5017
                                         FACSIMILE (718) 281-4746
                                                                      June 24, 2019

Honorable Lorna G. Schofield
United States District Judge, S.D.N.Y.
Thurgood Marshal Court House
40 Foley Square
New York, NY 10007
By ECF
                                     Re:       United States v. Albert Foozailov
                                               Docket No. 17-CR-262 (LGS)

Dear Judge Schofield:

        I write on behalf of my client, Albert Foozailov, to request a new sentencing date,
currently scheduled for July 25, 2019 at 11:10 a.m.

         In my last letter to the court, in which I requested an adjournment of my client’s sentence,
I had requested an adjournment to the week or August 14, 2019, with a date in the week of July
22, 2019 to submit Mr. Foozailov’s sentencing memorandum. The Government had no objection
to this request. Subsequently the court set the date of July 25, 2019 as the date for sentence and
July 1, 2019 as the date to submit Mr. Foozailov’s sentencing submissions.

       I write to the court again, requesting that Mr. Foozailov’s sentence be adjourned to the
week of August 12, 2019 or anytime thereafter. The reason for my request is a letter that I
received from my client’s Rabbi, Rabbi Michael Cohen Ben Itzhak, the Chief Rabbi at Od Yosef
Chai Synagogue asking me to request the adjournment. In his letter (attached hereto) Rabbi
Cohen Ben Itzhak writes:

                        As you know we soon approaching a very important period on the
                        Jewish calendar. The three weeks or as most of us know, Bein Ha-
                        Metzarim, is a period of mourning and fasting commemorating the
                        destruction of the first and second Jewish Temples. The Three weeks
                        start on the seventeenth day of the Jewish month of Tammuz (July 20,
                        2019) which include “The Nine Days” that end on the Ninth day of the
                        Jewish month of Av (August 12, 2019). During the entire Three weeks,
                        certain activities are forbidden to Jews by the Jewish Law in order to
                        decrease joy and inspire mourning over the destruction of the Temple.
                        Celebrations, as well as any public gatherings, (which would include
                        any court appearances) are just some of the activities that are prohibited
                        during this time. We also hold special prayers during this period and we
                        really need Albert to be part of these prayers.

                        I would like to ask you to move Albert’s case over in court for after this
                        period of time.
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       Therefore as to not conflict with any of the dates during this time period, I would be
requesting that Mr. Foozailov’s sentencing be adjourned to any date after August 12, 2019.

        Thank you for your consideration in this matter.



                                                             Respectfully submitted,

                                                             /s/
                                                             JONATHAN KAYE


cc. A.U.S.A. Noah Falk, by ECF
    AUSA Andrew Mark Thomas, by ECF
    USPO Robert Flemen, by ECF




Application Granted. Defendant Albert Foozailov's sentencing hearing is adjourned to October 10, 2019
at 11:10 a.m. Defendant's pre-sentencing submission shall be filed by September 16, 2019. The
Government's pre-sentencing submission, if any, shall be filed by September 19, 2019. The Clerk of the
Court is directed to terminate the letter motion at docket number 517.

Dated: June 28, 2019
New York, New York
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